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  17                             UNITED STATES DISTRICT COURT
  18                            CENTRAL DISTRICT OF CALIFORNIA
  19
        KATE SCOTT, an individual; JAMES        Case No. 2:17-cv-07329-PSG-FFMx
  20    BABINSKI, an individual;
                                                DEFENDANT’S OPPOSITION TO
  21                          Plaintiffs,       PLAINTIFFS’ MOTION FOR
                                                RECONSIDERATION OF
  22           v.                               SUPERIOR COURT DECISION
                                                REGARDING INTERPRETATION
  23    CITY COUNCIL FOR THE CITY OF            OF THE BROWN ACT,
        SANTA MONICA, the governing body        CALIFORNIA GOV’T CODE
  24    of the City of Santa Monica which       SECTION 54950
        operates the Santa Monica Municipal
  25    Airport; and DOES 1 through 10,
        inclusive,                              Hon. Philip S. Gutierrez
  26
                              Defendant.
  27
  28
                                                      DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
        Case No. 2:17-cv-07329-PSG-FFMx
                                                    RECONSIDERATION OF SUPERIOR COURT DECISION
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    1          The City Council for the City of Santa Monica (the “City”) hereby submits
    2   its opposition to Plaintiffs’ Motion for Reconsideration of Superior Court Decision
    3   Regarding Interpretation of the Brown Act (the “Motion”). (Dkt. No. 62.)
    4          I.      INTRODUCTION
    5          Plaintiffs’ Motion is a misguided attempt to resuscitate a meritless claim that
    6   has already been ruled on by Judge Chalfant and dismissed with prejudice.
    7   Plaintiffs completely ignore this Court’s rule regarding the narrow set of
    8   circumstances that warrant reconsideration. Plaintiffs also fail to show how Judge
    9   Chalfant erred (much less committed clear error) in his prior, well-reasoned ruling
  10    in the state court. Plaintiffs’ Motion is nothing more than a last-ditch attempt to
  11    salvage any claim (even those previously dismissed) based on the Brown Act.
  12    Accordingly, the Motion should be denied.
  13           The City notes that this meritless suit is one of many that have burdened the
  14    City and this Court. The City respectfully requests that this Court consider putting
  15    safeguards in place. Neither the City nor the Court should be required to dedicate
  16    more time and effort into responding to frivolous filings.
  17           II.     THE CITY’S ATTEMPT TO REGAIN CONTROL OVER SMO
                       HAS BEEN PUBLIC KNOWLEDGE FOR DECADES
  18
               For decades the City has sought to regain local control over the Santa Monica
  19
        Municipal Airport (“SMO”), including by prosecuting and defending various legal
  20
        disputes in court and before FAA administrative tribunals. A brief history of the
  21
        pertinent proceedings demonstrates the factual inaccuracies of Plaintiffs’ Motion.
  22
                              1.      The City Has Been Taking Public Actions to Gain
  23                                  Local Control of SMO Since the 1960s
  24           For nearly 100 years, the City has owned the real property underlying SMO.
  25    During World War II, the City entered into a wartime lease with the federal
  26    government to facilitate military manufacturing and training exercises at SMO.
  27    Almost immediately after World War II, the government surrendered its lease to
  28    allow the City to resume operating SMO.
                                                           DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1          In the 1960s, jets began using SMO, imposing severe noise impacts on
    2   adjacent neighborhoods. Local residents were apprehensive about SMO’s future
    3   and began organizing to reduce or eliminate airport traffic. It was widely known as
    4   early as 1971 that the City was making plans to close or substantially limit
    5   operations at SMO. (RJN Ex. 1, 1971 FAA Letter.) In fact, in response to resident
    6   apprehensions about jet traffic, various trade associations representing aviation
    7   interests began objecting to the City’s plans. The FAA responded to these concerns
    8   in an April 1971 letter to the Senior Vice President of the Aircraft Owners and
    9   Pilots Association. The FAA stated that “Santa Monica Airport is vulnerable to
  10    being discontinued and its land used for non-airport purposes.” (Id.)
  11                          2.      Resolution No. 6296, Adopted in 1981, Publicly
                                      Declares the City’s Intent to Close SMO
  12
               In June 1981, the City Council adopted Resolution No. 6296, declaring its
  13
        intention to close SMO as soon as legally possible. (RJN Ex. 2, Santa Monica City
  14
        Council Resolution No. 6296.) In Resolution 6296, the City set forth its reasons for
  15
        closure, which included safety concerns for neighborhoods surrounding SMO, the
  16
        relatively small number of residents who benefit from SMO, the ad-hoc planning
  17
        surrounding the use of SMO, and the long-term goals of the city. (RJN Ex. 2,
  18
        Resolution 6296.)
  19
               In 1983, the City adopted a new Master Plan for SMO. (RJN Ex. 3, 1983
  20
        Airport Master Plan Study.) The Master Plan again stated residents’ “desire to
  21
        close the airport.” However, because the City was at that time obligated a by
  22
        federal airport grants (which arguably provided that the airport could not be closed
  23
        immediately), the Master Plan instead focused on ways to limit and reduce jet
  24
        traffic at SMO. (Id.) This was 35 years ago.
  25
                              3.      The City Publicly Signed the 1984 Agreement to Close
  26                                  SMO in 2015
  27           City Council Resolution No. 6296 and the new Master Plan prompted several
  28    administrative actions against the City before the Federal Aviation Administration.
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   As a result of these administrative proceedings, the FAA negotiated with the City
    2   concerning SMO’s operations. These negotiations culminated in the signing of a
    3   settlement agreement in 1984 (the “1984 Agreement”). (RJN Ex. 4, 1984
    4   Agreement.) The 1984 Agreement expressly provided that the City was required to
    5   operate SMO only until July 1, 2015. (Id.) The implicit understanding was that the
    6   City could close SMO when the 1984 Agreement expired.
    7                         4.      The City Publicly Accepted Its Last Federal Grant in
                                      1994 to Enable the City to Close SMO in 2015
    8
               In June 1994, the City accepted its last federal airport grant in exchange for
    9
        contractual promises to maintain SMO for the use and benefit of the public for the
  10
        useful life of improvements made with the funds, but for no more than twenty years
  11
        from the date of execution of the grant agreement (“1994 Grant Agreement”).
  12
        (RJN Ex. 5, 1994 Grant Agreement Contract No. DTFA08-94-C-20857.) The City
  13
        was therefore required to operate SMO until June 29, 2014, twenty years after the
  14
        City entered into the 1994 Grant Agreement. (Id.)
  15
                              5.      In 2010 the City Again Publicly Evaluated the Future
  16                                  of SMO
  17           In December 2010, in anticipation of the expiration of the 1984 Agreement
  18    and the 1994 Grant Agreement, the City Council directed its staff to conduct a
  19    comprehensive public process regarding SMO’s future. The result was an April
  20    2013 City Council Report on the “Visioning Process.” (RJN Ex. 6, April 2013
  21    Report.) The Visioning Process concluded that the status quo at SMO was not
  22    acceptable to City residents. (Id.) This Visioning Process was comprehensive, and
  23    “the largest public process ever undertaken by the City.” It included the following
  24    items, all completed in the view of the public:
  25                  On December 14, 2010, the City Council publicly authorized a
  26    professional services agreement with the RAND Corporation to study best practices
  27    and uses that might be compatibly and beneficially located at SMO. The City
  28    Council also publicly authorized a contract with Point C Partners to formulate and
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   undertake a preliminary community interview process regarding the range of
    2   possibilities for SMO’s future. (RJN Ex. 6, April 2013 Report)
    3                 On February 22, 2011, the City Council publicly directed staff to
    4   proceed with Phase I of a comprehensive, three-phase airport Visioning Process.
    5   The City Council also publicly approved a contract with HR&A Advisors to
    6   analyze the general economic and fiscal impacts of current airport operations and
    7   activities. (Id.) On October 4, 2011, staff publicly reported to City Council
    8   concerning Phase I of the Visioning Process. (Id. at 7.)
    9                 On December 6, 2011, the City council publicly approved a
  10    professional services contract for Phase II of the Visioning Process. This would
  11    develop public community discussion groups to discuss and provide a forum for
  12    community members and all other interested persons to share their views on SMO
  13    and its future. Over 300 community members and others participated, making this
  14    the largest public process ever undertaken by the City. (Id. at 7.)
  15                  On May 8, 2012, the report from Phase II was publicly presented to the
  16    City Council. That report indicated that City residents were concerned about noise
  17    pollution, health impacts of aircraft emissions, safety risks related to flight training
  18    and the proximity of homes and a gas station to the runway ends, the growth of
  19    airport operations, damage to the residents’ life quality, environment impacts
  20    inconsistent with City policies, and lack of local control. (Id. at 8.)
  21                  On August 14, 2012, the City Council publicly approved a
  22    professional services agreement with IBI Group to prepare enhancement concepts
  23    for SMO for non-aviation land. (Id. at 9.)
  24           At the end of the Visioning Process, staff made several recommendations.
  25    Among them were “suggested changes to the runway for the purpose of enhancing
  26    community health and safety, which would have the effect of limiting Airport
  27    Access.” (Id. at 31.) This included “effectively shorten[ing] the runway.” (Id. at
  28    34.) Ultimately, it was recommended that the City continue to research the
                                                             DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   “benefits of closing or attempting to close all or a portion of the Airport”; and that
    2   staff “return to Council, by March of 2014, with an assessment . . . so that Council
    3   can determine whether the City should, after the expiration of its current
    4   obligations, implement additional changes that will reduce adverse Airport
    5   impacts,” including “whether the City should undertake closure of all or part of the
    6   Airport.” (Id. at 1. )
    7                         6.      The City’s Quiet Title Action and Other SMO-Related
                                      Litigation
    8
               In October 2013, the City filed a quiet title action against the United States
    9
        seeking a declaratory judgment that the City had unencumbered title to SMO. City
  10
        of Santa Monica v. United States, et al., Civil Action No. 13-CV-08046 JFW
  11
        (VBKx), Dkt. No. 1 (“Quiet Title Action”) (Dkt. No. 1, Notice of Removal Ex. R,
  12
        Plaintiffs’ Amended Petition (“Am. Petition”) ¶14.). While the Quiet Title Action
  13
        was pending, the City was involved in several other disputes related to the City’s
  14
        ability to exercise control over airport operations and to close SMO. These disputes
  15
        included, among others: City of Santa Monica v. FAA, Court of Appeals for the
  16
        Ninth Circuit, Case No. 16-72827 (the “Ninth Circuit Action”); (Am. Petition ¶
  17
        15.) and In re: Compliance with Fed. Obligations by the City of Santa Monica,
  18
        Federal Aviation Administration, Docket No. 16-16-13 (the “Administrative
  19
        Proceeding”). (Am. Petition ¶ 16.)
  20
                              7.      In 2014, Two Public Ballot Measures Concerning
  21                                  SMO Were Put Up for Vote in Santa Monica
  22           While the Quiet Title Action was pending, and as directed by the Visioning
  23    Process, in early 2014, the City of Santa Monica Airport Development Council
  24    referred a question, Measure LC (named LC for “Local Control”), which was
  25    placed on the election ballot for voters in the City of Santa Monica. (RJN Ex. 7,
  26    Resolution No. 10827.) Resolution No. 10827 was designed to empower City
  27    residents concerning SMO’s future:
  28
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               Under Measure LC, the governance of SMO was placed in the hands of the
    7
        City Council. The ballot question was posed as follows: “Shall the City Charter be
    8
        amended to: (1) prohibit new development at SMO, except for parks, public open
    9
        spaces and public recreational facilities, until the voters approve limits on the uses
   10
        and development that may occur on the land; and (2) affirm the City Council’s
   11
        authority to manage the Airport and to close all or part of it?” (Id.) The voters
   12
        passed Measure LC, with 15,434 votes in favor, and 10,096 votes against,
   13
        confirming the community’s desire that SMO be subject to local control and that
   14
        the property be developed for non-aviation use consistent with community
   15
        principles. (RJN Ex. 8, Resolution No. 10850.)
   16
               Also placed on the ballot was Measure D, a counter-initiative that would
   17
        have amended the City Charter to require voter approval in a citywide election
   18
        before any change in the use of land at the SMO to non-aviation purposes, or that
   19
        closes or partially closes SMO. (RJN Ex. 9, Resolution No. 10828) Measure D
   20
        was defeated, with 14,688 “no” votes and only 10,288 “yes” votes. (RJN Ex. 8,
   21
        Resolution No. 10850.)
   22
   23                         8.      The City Settles the Quiet Title Action and Other
                                      SMO-Related Litigation
   24          On January 30, 2017, the City and the federal government executed the
   25   proposed Consent Decree, which settled the Quiet Title Action, the Ninth Circuit
   26   Action, and the Administrative Proceeding. (Am. Petition ¶ 26, Ex. F; RJN Ex. 12,
   27   As-filed Consent Decree at 11.) On February 1, 2017, the Honorable John F.
   28
                                                             DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   Walter entered an order approving the Consent Decree. (RJN Ex.14, Minute Order
    2   and Ex.15, Final Consent Decree, respectively.) The City then made the Consent
    3   Decree publicly available by posting a true and correct copy on the City’s website.
    4   (RJN Ex. 16, Website.)
    5                         9.      The January 28, 2017 City Council Meeting
    6          On or about January 25, 2017, while the Quiet Title Action, the Ninth Circuit
    7   Action, and the Administrative Proceeding were pending, the City posted an agenda
    8   for a Special Meeting of the City Council to be conducted on January 28, 2017.
    9   (Am. Petition ¶ 18, Ex. D; RJN Ex. 10, Jan. 28 Special Meeting Agenda .) The
   10   Special Meeting Agenda included six closed session items for conference with legal
   11   counsel regarding pending litigation, as authorized under California Government
   12   Code § 54956.9. (RJN Ex. 10, Special Meeting Agenda at 3.) The Administrative
   13   Proceeding was listed as item 1.A, the Quiet Title Action was listed as Item 1.D and
   14   the Ninth Circuit Action was listed as Item 1.E. (Id.)
   15          Three members of the public, but not Petitioners, made public comments on
   16   the Closed Session items prior to the City Council convening for Closed Session.
   17   (Am. Petition ¶ 19, Ex. E; RJN Ex. 11, Jan. 28 Meeting Minutes.) After hearing
   18   public comment, the City Council convened into Closed Session to discuss the
   19   litigation items listed on the Agenda. (Id.)
   20          Upon reconvening into open session, the Interim City Attorney reported on
   21   Items 1.A (the Administrative Proceeding), 1.D (the Quiet Title Action) and 1.E
   22   (the Ninth Circuit Action). (Am. Petition ¶ 22; RJN Ex. 11, Jan. 28 Meeting
   23   Minutes.) The Interim City Attorney gave a detailed explanation of the proposed
   24   Consent Decree. (Id.) He explained that the proposed Consent Decree would: (i)
   25   resolve all the outstanding disputes between the City and the federal government as
   26   to the Administrative Proceeding, the Quiet Title Action and the Ninth Circuit
   27   Action; (ii) require the City to operate SMO only until December 31, 2028; and (iii)
   28   give the City the right to shorten the runway to 3,500 feet. (Id.) The proposed
                                                           DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   Consent Decree itself did not by its own dictate the shortening or closure of the
    2   runway; it merely set forth a framework for local control of SMO and the right to
    3   shorten the runway.
    4          The Interim City Attorney also explained that the City Attorney’s Office, as
    5   well as the City’s outside legal counsel, all recommended settlement of the three
    6   matters pursuant to the Consent Decree. (Id.) After the Interim City Attorney
    7   completed his report and questions were answered, the City Council publicly
    8   debated the merits of the proposed Consent Decree, moved for a vote, and voted in
    9   public 4-3 to approve the proposed Consent Decree. (RJN Ex. 11, Jan. 28 Meeting
   10   Minutes.)
   11                         10.     The Consent Decree
   12          On January 30, 2017, the City and the federal government executed the
   13   proposed Consent Decree. (Am. Petition ¶ 26, Ex. F; RJN Ex. 12, As-filed Consent
   14   Decree at 11.) That same day, the proposed Consent Decree was submitted to this
   15   Court for review and for a decision whether to enter it. (Id.) The next day, an
   16   emergency application was filed by a resident group to intervene and to challenge
   17   entry of the Consent Decree. (RJN Ex. 13, Resident Group Intervention.)
   18          On February 1, 2017, the Honorable John F. Walter entered the Consent
   19   Decree. (RJN Ex. 14, Minute Order and Ex. 15, Final Consent Decree,
   20   respectively.) Judge Walter also rejected the challenge to the Consent Decree as
   21   untimely. (Minute Order (“intervention is not merited at this late stage.”)
   22   (emphasis added.) Upon entry by the Court, the City made the Consent Decree
   23   publicly available by posting a true and correct copy on the City’s website. (RJN
   24   Ex. 16, Website.)
   25
   26
   27
   28
                                                             DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1           III.   PLAINTIFFS’ CHALLENGE TO THE CONSENT DECREE
                       HAS ALREADY BEEN DENIED
    2
                       A.     Plaintiffs’ Writ Petition for Violations of the Brown Act
    3
                On April 18, 2017, Plaintiffs sent the City a demand letter arguing that the
    4
        approval of the Consent Decree was void ab initio due to alleged violations of the
    5
        Ralph M. Brown Act, California Government Code section 54950 et seq. (the
    6
        “Brown Act”). (RJN Ex. 17, Brown Act Demand.) Although the City had 30 days
    7
        to respond to Plaintiffs’ demand, Government Code section 54960.1(c)(1)-(4), just
    8
        ten days later Plaintiffs filed a Verified Petition for Writ of Mandate and Complaint
    9
        for Injunctive and Declaratory Relief in Los Angeles County Superior Court. (Dkt.
   10
        No 1-2, Petition.)
   11
                       B.     Judge Chalfant Sustains the City’s Demurrer to the Writ
   12                         Petition
   13           On August 10, 2017, the City’s demurrer to the Petition was heard. Before
   14   hearing argument on the demurrer, Judge Chalfant noted that he had “personal
   15   knowledge” that the “the city of Santa Monica has long wanted to close” SMO.
   16   (Dkt. No. 40-2, 5:5-7.) Then, at the end of the hearing, Judge Chalfant granted the
   17   City’s demurrer and dismissed all of Plaintiffs’ Brown Act claims with prejudice.
   18   (RJN Ex. 18, Decision on Demurrer.) He explained, correctly, that the Brown Act
   19   expressly provides the City with authority to discuss its legal disputes, determine
   20   legal strategy, and settle disputes in closed session. (Id.) Judge Chalfant also held
   21   that:
   22                 In compliance with the Brown Act, the City listed various SMO legal
   23   disputes on its January 28, 2017, closed session agenda, including the Quiet Title
   24   Action, the Ninth Circuit Action, and the Administrative Proceeding. (Id.)
   25                 Before the City Council went into closed session, a public hearing
   26   occurred and the public was afforded the opportunity to speak on those closed
   27   session matters. (Id.)
   28                 Following closed session, the City Council reported that it had action
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   to take with regard to the SMO-related legal disputes. (Id.)
    2                  The City Attorney outlined the key settlement terms of the proposed
    3   Consent Decree. (Id.)
    4                  The City Council held a public discussion of the Councilmembers’
    5   views, and then took a public vote on whether to agree to the Consent Decree. (Id.)
    6                  The “City Council exceeded the requirements of the [Act] by reporting
    7   the substance of the Consent Decree and by voting on it in open hearing.” (Id.)
    8          Based on these facts, Judge Chalfant dismissed Plaintiffs’ claims arising
    9   from the actions taken at the January 28 Council Meeting for failure to state a
   10   claim.1 (Id.)
   11                   C.    Judge Lew Denied Plaintiffs’ Identical Motion Seeking Ex
                              Parte Relief
   12
               On October 12, 2017, Plaintiffs filed an application for ex parte relief
   13
        seeking reconsideration of the Superior Court’s decision. (Dkt. 40.) The next day,
   14
        on October 13, 2017, Judge Lew denied Plaintiffs’ ex parte application, noting that
   15
        “Plaintiffs should have moved for reconsideration in the Superior Court in August
   16
        2017.” (Dkt. 43.) Undeterred, Plaintiffs filed the current Motion, the substance of
   17
        which is identical to their ex parte application before Judge Lew.
   18
               IV.      PLAINTIFFS HAVE NOT MET THE STANDARD FOR
   19                   RECONSIDERATION
   20          Local Rule 7–18 governs the process for filing a motion for reconsideration.
   21          1
                On September 5, 2017, after conducting a hearing on the Order to Show
   22   Cause re Dismissal of the action, Judge Chalfant allowed Plaintiffs leave to file an
        amended petition on a very narrow issue that was not pleaded in the original
   23   Petition: whether “a Brown Act violation occurred because the City failed to
        conduct a public hearing as required under the Public Utilities Code to discuss
   24   shortening the runway at Santa Monica Airport prior to agreeing to enter into the
   25   Consent Decree[?]” (RJN Ex. 19, Notice of Ruling.) The Plaintiffs’ claims
        regarding the Public Utilities Code are addressed in the City’s motion to dismiss.
   26   (Dkt. 42 at 10–20.) Moreover, Judge Lew has already determined that these r
        claims lack merit in the context of Plaintiffs’ Application for a Preliminary
   27   Injunction. (Dkt. 56 at 11–17.)
   28
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   In pertinent part, it states: “No motion for reconsideration shall in any manner
    2   repeat any oral or written argument made in support of or in opposition to the
    3   original motion.” (L.R. 7–18.) Plaintiffs concede that their motion fails to comply
    4   with Local Rule 7–18. (Dkt. 62 at 2, n.2.) On this ground alone the Motion should
    5   be denied.
    6                  A.     Legal Standard
    7          “Whether to grant a motion for reconsideration under Local Rule 7–18 is a
    8   matter within the court’s discretion.” Daghlian v. DeVry Univ., Inc., 582 F. Supp.
    9   2d 1231, 1251 (C.D. Cal. 2007).2 As this Court has made clear time and again, a
   10   motion for reconsideration under Local Rule 7–18 may be made on only the
   11   following grounds:
   12          (a) a material difference in fact or law from that presented to the Court before
   13          such decision that in the exercise of reasonable diligence could not have been
   14          known to the party moving for reconsideration at the time of such decision,
   15          or
   16          (b) the emergence of new material facts or a change of law occurring after
   17          the time of such decision, or
   18          (c) a manifest showing of a failure to consider material facts presented to the
   19          Court before such decision.
   20   C.D. Cal. Civ. L.R. 7–18; see Kapa Investment v. Cirrus Design Corp., 2009 WL
   21   10673050, at *2 (C.D. Cal. Aug. 27, 2009) (Gutierrez, J.).
   22
               2
   23           Plaintiffs’ only avenue to pursue reconsideration is Local Rule 7–18. The
        Federal Rules of Civil Procedure require a party to move to amend or alter a
   24   judgment “no later than 28 days after the entry of the judgment.” Fed. R. Civ. P.
   25   59. The ruling Plaintiffs challenge was entered on August 10, 2017. Twenty-eight
        days after this entry is September 7, 2017. As such, Plaintiffs can only seek
   26   reconsideration under, and must comply with the strictures of, the “narrower” Local
        Rule 7–18. Ketab Corp. v. Mesriani Law Grp., 2015 WL 2084469, at *2 n.4 (C.D.
   27   Cal. May 5, 2015).
   28
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1          This Court has been careful to explain that a Plaintiff “who moves pursuant
    2   to Local Rule 7–18 is limited to the grounds permitted by Local Rule 7–18.” Ketab
    3   Corp. v. Mesriani Law Grp., 2015 WL 2084469, at *2 n.3 (C.D. Cal. May 5, 2015).
    4   Notably, a “motion for reconsideration pursuant to Local Rule 7–18 must not
    5   ‘repeat any oral or written argument made in support of or in opposition to the
    6   original motion.’” Id. (quoting C.D. Cal. Civ. L.R. 7–18). Indeed, if a movant
    7   simply repeats arguments already considered and denied, the Court need not
    8   examine them and can simply deny the motion. See, e.g., id. (denying a motion for
    9   reconsideration because the movant simply repeated arguments made in the original
   10   motion).
   11                  B.     Plaintiffs’ Fail to Allege a Proper Basis for Reconsideration
   12          Plaintiffs’ Motion is procedurally improper for the following reasons.
   13          First, Plaintiffs admit that no “new material facts are present.” (Dkt. 62 at 2
   14   n.2.) And of course this is true. As set forth at length above, the challenged
   15   conduct underlying the Motion is entirely historic; the allegation is that the City
   16   failed to comply with the Brown Act when the City Council approved the Consent
   17   Decree on January 28, 2017. Plaintiffs raised these issues in prior proceedings and
   18   the court ruled against them.
   19          Second, Plaintiffs do not allege any new law that would put into question the
   20   prior ruling. Instead, Plaintiffs (literally) copy and paste arguments from their prior
   21   submissions in state court and cite the exact same cases in support of the exact same
   22   position that was already rejected. Even a cursory review of Plaintiffs’ Motion
   23   shows that they are not claiming that intervening law warrants reconsideration:
   24                 The first two paragraphs regarding the Brown Act contained in
   25   Plaintiff’s Motion are directly copied from page 1 of Plaintiff’s Opposition to the
   26   Demurrer below. Compare Dkt. 62 at 2-3 with RJN Ex. 20, Opposition to
   27
   28
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
        Case No. 2:17-cv-07329-PSG-FFMx        12
                                                          RECONSIDERATION OF SUPERIOR COURT DECISION
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    1   Demurrer at 1.3
    2                 The next two paragraphs in the Motion regarding the Brown Act are
    3   directly copied from page 4 of Plaintiff’s Opposition. Compare Dkt. 62at 3 with
    4   RJN Ex. 20, Opposition to Demurrer at 4-5.
    5                 Plaintiffs’ block quote of Trancas on page 5 of the Motion was lifted
    6   from page 5 of their Opposition. Compare Dkt. 62 at 5 with RJN Ex. 20,
    7   Opposition to Demurrer at 5.
    8          Indeed, Plaintiffs cited the same three cases (Trancas, Page, and Shapiro) to
    9   support both their Motion and their Opposition to the City’s demurrer in state court.
   10   And Plaintiffs acknowledge that their only complaint with Judge Chalfant’s opinion
   11   is that his “interpretation runs afoul of the express purpose of the Brown Act as
   12   stated by the legislature, and as interpreted by the courts of the State of California.”
   13   (Dkt. 62 at 1.) This type of collateral attack on a prior ruling is by definition
   14   prohibited: a “motion for reconsideration pursuant to Local Rule 7–18 must not
   15   ‘repeat any oral or written argument made in support of or in opposition to the
   16   original motion.’” Kapa Investment, 2009 WL 10673050, at *2.
   17          Third, Plaintiffs do not suggest, nor can they, that the prior decision “fail[ed]
   18   to consider material facts” that were presented in proceedings below. Instead,
   19   Plaintiffs simply argue that Judge Chalfant’s interpretation of the Brown Act “runs
   20   afoul of the express purpose of the Brown Act as stated by the legislature, and as
   21   interpreted by the courts of the State of California.” (Dkt. 62 at 1; Dkt. 62 at 9.)
   22   Even assuming Plaintiffs are correct, this is not a valid basis for seeking
   23   reconsideration. Kinetics Noise Control, Inc. v. ECORE Intern., Inc., 2011 WL
   24   940335, at *1 (C.D. Cal. Mar. 14, 2011) (Gutierrez, J.) (quoting Frietsch v. Refco,
   25   Inc., 56 F.3d 825, 828 (7th Cir.1995) (Posner, J.) for the proposition that “It is not
   26          3
              The Demurrer Opposition is also Exhibit H to the City’s Notice of
   27   Removal. (Dkt. No. 1-9.)
   28
                                                             DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   the purpose of allowing motions for reconsideration to enable a party to complete
    2   presenting his case after the court has ruled against him. Were such a procedure to
    3   be countenanced, some lawsuits really might never end, rather than just seeming
    4   endless.”).
    5          Accordingly, Plaintiffs’ Motion should be denied. Judge Chalfant considered
    6   all of the material facts and pertinent law presented in the Motion and rejected the
    7   same arguments presented by Plaintiffs once again.4
    8          V.      THE PRIOR RULING IS CORRECT AND SHOULD NOT BE
                       DISTURBED
    9
               This Court need not consider the merits of Plaintiffs’ Motion. But if the
   10
        Court takes just a peek at the merits, it will see another problem with the Motion: it
   11
        is entirely premised on an inappropriate standard of review. (Dkt. 62 at 2.) This
   12
        Court has made clear that “clear error” review does not apply to the review of
   13
        motions for reconsideration under Local Rule 7–18. See Ketab, 2015 WL 2084469,
   14
        at *2, n.3 (“Plaintiff’s first ground, that the Court committed ‘clear error’ resulting
   15
        in a manifestly unjust decision, is not a permitted ground for reconsideration under
   16
        Local Rule 7–18.”).
   17
               Assuming, arguendo, that “clear error” review applies, “clear error” occurs
   18
        only when this “Court is left with a definite and firm conviction that a mistake has
   19
        been committed.” United States v. Syrax, 235 F.3d 422, 427 (9th Cir. 2000)
   20
        (citations and quotation marks omitted). Judge Chalfant’s decision was thoughtful
   21
        and correct; it certainly does not rise to the level of clear error.
   22
   23
   24
               4
   25           Given that Plaintiffs have conceded that their Motion does not comport with
        the governing rule and fail to raise any new fact or law in the current proceeding,
   26   the City respectfully submits that this Motion is frivolous. Plaintiffs should not be
        permitted to serially file meritless motions to the detriment of both the City and this
   27   Court. See Fed. R. Civ. P. 11(b)(2).
   28
                                                              DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1                  A.     Judge Chalfant Correctly Found That the City Complied
                              with the Requirements of Gov. Code § 54956.9(c)
    2
               The Brown Act generally requires cities to operate in public. An exception
    3
        to this general rule is to allow a legislative body to hold “closed sessions” for
    4
        purposes of conferring with legal counsel related to anticipated or pending
    5
        litigation. GOV. CODE § 54956.9. The “pending litigation” exception applies when
    6
        litigation has formally commenced, or when there is significant exposure to
    7
        litigation against the local agency. Id. § 54956.9(a), (b).
    8
               In order to invoke the “closed session” exception for pending litigation, the
    9
        Brown Act requires a legislative body to state on the agenda or publicly announce
   10
        the subdivision of the section that allows for the closed session discussion. Id.
   11
        § 54956.9(c). All that is required is that the agenda provide the name of the case;
   12
        reference to claimant’s name; names of parties; or the case or claim numbers. Id.
   13
        § 54954.5(c). Here, Items 1.A, 1.D, and 1.E on the January 28, 2017, Meeting
   14
        Agenda properly described the City Council consideration of the Administrative
   15
        Proceeding, Quiet Title Action, and Ninth Circuit Action, respectively. (RJN Ex.
   16
        10, Jan. 28 Meeting Agenda.) Thus, the City Council was permitted under the
   17
        Brown Act to discuss the pending litigations in closed session. Id. § 54956.9(a).
   18
               Judge Chalfant correctly found that the City was permitted under the Brown
   19
        Act to discuss the Quiet Title Action, Administrative Proceeding, and Ninth Circuit
   20
        Action in closed session.
   21
                       B.     Judge Chalfant Correctly Found that the City Provided
   22                         More Transparency than Required under the Brown Act
   23          Judge Chalfant also correctly found that the City provided more transparency
   24   than required under the Brown Act by reporting the proposed Consent Decree out to
   25   the public prior to approval, execution, and entry by the District Court.
   26          The Brown Act requires a legislative body to “report out” of a closed session
   27   when approval is given to legal counsel of a settlement of pending litigation after
   28   the settlement is final. GOV. CODE § 54957.1(a)(3). If the legislative body accepts
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   an offer signed by the opposing party, the legislative body is required to report
    2   acceptance of the settlement and identify the substance of the agreement in open
    3   session at the meeting during which the closed session is held. Id.
    4   § 54957.1(a)(3)(A). If final approval rests with some other party to the litigation or
    5   with the court, then as soon as the settlement becomes final, and upon inquiry by
    6   any person, the local agency shall disclose the fact of that approval, and identify the
    7   substance of the agreement. Id. § 54957.1(a)(3)(B) (emphasis added). This timing
    8   element makes clear that the disclosure is only required once the settlement is final.
    9          On January 28, 2017, when the Interim City Attorney reported out of closed
   10   session, and the City Council took its vote to approve the proposed Consent Decree
   11   in open session, the Federal Government had not yet signed the proposed Consent
   12   Decree (it was not executed until January 30, 2017). (RJN Ex. 12, As-Filed
   13   Consent Decree.) Further, final approval of the Consent Decree rested with the
   14   District Court, which had not yet occurred. (Id. (stating that the Consent Decree
   15   becomes effective upon entry by the District Court).) Because the Consent Decree
   16   had not yet been executed by the United States or approved by the District Court on
   17   January 28, 2017, the City was under no obligation to publicly report out on those
   18   items at that time, because nothing was yet final. See GOV. CODE
   19   § 54957.1(a)(3)(B). Instead, the City was required, upon request, to produce a copy
   20   of the Consent Decree once entered by the Court. Id. § 54957.1(a)(3)(B).
   21          On January 28, upon reconvening into open session, the Interim City
   22   Attorney reported out on Items 1.A (the Administrative Proceeding), 1.D (the Quiet
   23   Title Action) and 1.E (the Ninth Circuit Action). (Am. Petition ¶ 22; RJN Ex. 11,
   24   Jan. 28 Meeting Minutes.) The Interim City Attorney then gave a detailed
   25   explanation of the proposed consent decree (“Consent Decree”) and what it would
   26   accomplish, and noted that the City Attorney’s Office and the City’s outside legal
   27   counsel recommended settlement of the three matters pursuant to the Consent
   28   Decree. (Id.)
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1          After the Interim City Attorney completed his report and questions were
    2   answered, the City Council publicly debated the merits of the proposed Consent
    3   Decree. (RJN Ex. 11, Jan. 28 Meeting Minutes.) Only then, after public debate and
    4   response to questions, did Councilmember O’Day, seconded by Mayor Pro Tem
    5   Davis, make a motion to approve the proposed Consent Decree. (Id.) At public
    6   vote, the proposed Consent Decree was approved four-to-three (4-3). (Id.) By
    7   voting in open session and before all necessary actions to approve the settlement
    8   had been taken, the City Council went above and beyond, rather than falling short,
    9   of what is required under the Brown Act.
   10          Accordingly, Judge Chalfant’s ruling that the “City Council exceeded the
   11   requirements of the [Brown Act] by reporting the substance of the Consent Decree
   12   and by voting on it in open hearing” was correct.
   13                  C.     The Trancas Decision Does Not Undermine Judge Chalfant’s
                              Rulings
   14
               Plaintiffs argued extensively before Judge Chalfant that Trancas Prop.
   15
        Owners Assn v. City of Malibu, 138 Cal. App. 4th 172 (2006) required a different
   16
        outcome. Setting aside that these arguments are procedurally barred, it is odd that
   17
        Plaintiffs’ raise them again here given that Judge Chalfant granted Plaintiffs’ the
   18
        exact relief they requested below—leave to amend based on the Trancas holding.
   19
        (Dkt. No. 40-3, September 5, 2017 Hearing Transcript.) Judge Chalfant stated:
   20
   21                  I’m not going to dismiss. I’m going to give you leave to
                       amend to allege only one claim based on this utilities
   22                  code statute about realigning the runway. And I think I
   23                  stated it accurately that the theory is that this statute
                       applies to the consent decree that a public hearing was
   24                  required and that an after-the-fact public hearing after
   25                  you've entered into the consent decree is not good
                       enough and that, before entering into a consent decree
   26                  that involves a realignment of a runway, i.e., shortening,
   27                  a public hearing was required. And, therefore, under
                       Trancus, [sic] there can be a Brown Act violation. That’s
   28
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1                  your legal theory embellished however you want.
    2
               Nonetheless, Plaintiffs once again argue that Judge Chalfant’s ruling
    3
        concerning the permissible scope of amendment incorrectly applied the decision in
    4
        Trancas. But Plaintiffs do not even discuss the actual holding in Trancas. Trancas
    5
        held that the Brown Act’s “exception for adoption of litigation settlements in closed
    6
        session does not embrace such agreements” when “other laws” require that the
    7
        decision being made is “preceded by public hearings.” Trancas, 138 Cal. App. 4th
    8
        at 186–87. The Brown Act itself does not impose on city governments independent
    9
        obligations to hold a public hearing prior to entering a settlement unless some
   10
        “other” applicable law required such a hearing. Id.
   11
               Judge Chalfant’s ruling was directly in line with the reasoning in Trancas.
   12
        After dismissing the claims based on the City Council’s conduct at the January 28,
   13
        2017, Meeting, Judge Chalfant permitted Plaintiffs to amend their complaint and
   14
        allege that an “other law,” namely, the PUC, independently required a hearing.
   15
        Specifically, he allowed Plaintiffs to amend to that “a Brown Act violation occurred
   16
        because the City failed to conduct a public hearing as required under the Public
   17
        Utilities Code to discuss shortening the runway at Santa Monica Airport prior to
   18
        agreeing to enter into the Consent Decree.”
   19
               Plaintiffs did just that in their Amended Petition, alleging that two provisions
   20
        of the PUC code required the City to undertake a public hearing prior to entering
   21
        into the proposed Consent Decree.5
   22
               VI.     PLAINTIFFS’ OTHER ARGUMENTS ARE UNPERSUASIVE
   23
               Plaintiffs appear to make two other arguments in support of their position
   24
        that Judge Chalfant’s ruling must be reconsidered. First, they argue that the
   25
               5
   26           As noted, Judge Lew has already determined that these PUC claims lack
        merit in the context of Plaintiffs’ motion for a preliminary injunction. (Dkt. 56 at
   27   11–17.)
   28
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1   proposed Consent Decree achieved results that could not have been accomplished
    2   through litigation. Second, they say the proposed consent decree reversed other
    3   Council Resolutions. Neither argument is correct.
    4                  A.     The Results Could Have Been Achieved Through Litigation
    5          If the City had prevailed in the Quiet Title Action and the Ninth Circuit
    6   Action, the Administrative Proceeding would have been mooted because the City
    7   would not have been bound by any federal obligations. At that point, the City
    8   would have had unencumbered title to SMO. The City could have done anything it
    9   wished with SMO (subject to applicable law) immediately upon prevailing in those
   10   actions. To that end, the proposed Consent Decree did not give the City anything
   11   that it could not have accomplished through litigation. Plaintiffs admit as much
   12   when they say “if the City had prevailed in both the District Court Action and the
   13   [Ninth Circuit Action], presumably the City would have closed the airport . . . .”
   14   (Dkt. No. 40 at 8, n.5.)
   15                  B.     The Proposed Consent Decree Did not Reverse Legislative
                              Policy
   16
               Plaintiffs summarily state that the Proposed Consent Decree secretly
   17
        “reversed” City legislative policy. That is not true. The proposed Consent Decree
   18
        did not do anything to SMO. (RJN Ex. 15, Consent Decree.) It merely gave the
   19
        City local control over the property at a date certain, and the right to shorten the
   20
        runway. Both of these items had been discussed and debated by the Santa Monica
   21
        City Council and the City’s residents for half a century.
   22
               VII. CONCLUSION
   23
               The City respectfully requests that the Court deny Plaintiffs’ Motion.
   24
   25
   26
   27
   28
                                                            DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
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    1
        Dated: November 27, 2017          MORRISON & FOERSTER LLP
    2
    3
                                          By: /s/ William V. O’Connor
    4                                         WILLIAM V. O’CONNOR
    5                                        Attorneys for Defendant
                                             CITY COUNCIL FOR THE
    6                                        CITY OF SANTA MONICA
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                                                       DEF’S OPPOSITION TO PLAINTIFFS’ MOTION FOR
        Case No. 2:17-cv-07329-PSG-FFMx     20
                                                     RECONSIDERATION OF SUPERIOR COURT DECISION
        dn-196366
